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VIA ACMS


Catherine O’Hagan Wolfe
Clerk of Court
Thurgood Marshall United States Courthouse
40 Foley Square
New York, New York 10007

                   RE:    In Re: Oral Phenylephrine Marketing and Sales Practices Litigation
                          (No. 24-3296)

Dear Ms. Wolfe:

        I submit this letter on behalf of Plaintiff-Appellants. Circuit Rule 4.2 requires Appellants
to notify the court after entry of an order disposing of any of the motions referenced by Federal
Rules of Appellate Procedure 4(a)(4), 4(b)(3), or 6(b)(2).

        This appeal is taken from a master MDL docket (district court no. 1:23-MD-3089-BMC)
as well as the member dockets identified in Exhibit A to the notice of appeal.

      On November 15, 2024, one MDL plaintiff filed a motion under Federal Rule of Civil
Procedure 60(b). The motion was filed on the master docket, but related only to that plaintiff’s
member case. That plaintiff was not included in the notice of appeal and is not yet a party to any
pending appeal.

            On December 16, 2024, the district court denied the Rule 60(b) motion.

                                                Very truly yours,



                                                Jonathan D. Selbin

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